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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

Mainline Shipping Company,                            §
                                                      §
         Plaintiff,                                   §
vs.                                                   §                  22-517-UNA
                                                          CIVIL ACTION _________________
                                                      §
Michigan Salt Products, LLC,                          §   IN ADMIRALTY, Rule 9(h)
        Defendant,                                    §
and                                                   §
Midwest Salt, LLC                                     §
Pinney Dock & Transport, LLC                          §
Riverside Construction Materials, Inc.                §
                                                      §
        Garnishees.                                   §

                                             ORDER

         Plaintiff, having moved for an Order pursuant to Supplemental Rule B(1)(d)(ii) appointing

Timothy Jay Houseal, or any other qualified person appointed by him, to serve the process of

maritime attachment and garnishment and any supplemental process in this matter, and it

appearing that such appointment will result in substantial economies in time and expense,

         NOW, on motion of Plaintiff, it is hereby,

         ORDERED, that Timothy Jay Houseal, or any other person at least 18 years of age and not

a party to this action, appointed by him be and hereby is, appointed to serve the Process of

Maritime Attachment and Garnishment, and a copy of the Verified Complaint as issued in this

case.
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                          22 day of April, 2022.
   DONE AND ORDERED this ____


                                  /s/ Richard G. Andrews
                                 _________________________________
                                 UNITED STATES DISTRICT JUDGE




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